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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE



         In re:                                                              Chapter 11

         HH LIQUIDATION, LLC, et al.,1                                       Case No. 15-11874 (KG)

                                            Debtors.                         (Jointly Administered



         OFFICIAL COMMITTEE OF UNSECURED
         CREDITORS on behalf of the bankruptcy estate of
         HH LIQUIDATION, LLC, et al.,

                          Plaintiff,

                                   v.                                        Adv. Pro. No. See Exhibit A

         CERTAIN DEFENDANTS LISTED ON EXHIBIT A,

                          Defendants.



                              NOTICE AGENDA OF MATTERS SCHEDULED
                           FOR HEARING ON JANUARY 23, 2018, AT 2:00 P.M. (ET)

         RESOLVED/ADJOURNED MATTERS

         1.       Motion of the United Food & Commercial Workers Unions and Food Employers Benefit
                  Fund for Allowance and Payment of Administrative Expense Claim Pursuant to Section
                  503(b) [D.I. 2579; 2/8/17]

                  Related Documents:

                          A.       Agreed Scheduling Order [D.I. 3142; 9/13/17]

                          B.       Certification of Counsel Regarding Agreed Scheduling Order [D.I. 3382;
                                   12/29/17]


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           The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
         number, are: HH Liquidation, LLC (f/k/a Haggen Holdings, LLC) (7558), HH Operations, LLC (f/k/a Haggen
         Operations Holdings, LLC) (6341), HH Opco South, LLC (f/k/a Haggen Opco South, LLC) (7257), HH Opco
         North, LLC (f/k/a Haggen Opco North, LLC) (5028), HH Acquisition, LLC (f/k/a Haggen Acquisition, LLC)
         (7687), and HH Legacy, Inc. (f/k/a Haggen, Inc.) (4583). The mailing address for each of the Debtors is 26895
         Aliso Creek Road, Suite B-1003, Aliso Viejo, California 92656.



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                          C.   Order Approving Stipulation Between Debtors and United Food &
                               Commercial Workers Unions and Food Employers Benefit Fund [D.I.
                               3387; 1/2/18]

                Response Deadline:           March 2, 2017 at 4:00 p.m. (ET); Extended to September
                                             20, 2017 at 4:00 p.m. (ET) for Debtors

                Responses Received:

                          D.   Debtors’ Objection to the Motion of the United Food & Commercial
                               Workers Unions and Food Employers Benefit Fund for Allowance and
                               Payment of Administrative Expense Claim Pursuant to Section 503(b)
                               [D.I. 3155; 9/20/17]

                          E.   Reply of the United Food & Commercial Workers Unions and Food
                               Employers Benefit Fund in Support of Motion for Allowance and Payment
                               of Administrative Expense Claim Pursuant to Section 503(b) [D.I. 3200;
                               10/11/17]

                Status:        The hearing to address unresolved aspects of the proposed discovery and
                               final hearing schedule, as set forth in the Agreed Scheduling Order, is
                               adjourned to a date to be determined.

         2.     Motion of the Southern California United Food & Commercial Workers Unions and Food
                Employers Joint Pension Trust Fund for Allowance and Payment of Administrative
                Expense Claim Pursuant to Section 503(b) [D.I. 2580; 2/8/17]

                Related Documents:

                          A.   Agreed Scheduling Order [D.I. 3142; 9/13/17]

                          B.   Certification of Counsel Regarding Agreed Scheduling Order [D.I. 3382;
                               12/29/17]

                          C.   Order Approving Stipulation Between Debtors and Southern California
                               United Food & Commercial Workers Unions and Food Employers Joint
                               Pension Trust Fund [D.I. 3386; 1/2/18]

                Response Deadline:           March 2, 2017 at 4:00 p.m. (ET); Extended to September
                                             20, 2017 at 4:00 p.m. (ET) for Debtors

                Responses Received:

                          D.   Debtors’ Objection to the Motion of the Southern California United Food
                               & Commercial Workers Unions and Food Employers Joint Pension Trust
                               Fund for Allowance and Payment of Administrative Expense Claim
                               Pursuant to Section 503(b) [D.I. 3156; 9/20/17]



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                          E.   Reply of the Southern California United Food & Commercial Workers
                               Unions and Food Employers Joint Pension Trust Fund in Support of
                               Motion for Allowance and Payment of Administrative Expense Claim
                               Pursuant to Section 503(b) [D.I. 3201; 10/11/17]

                Status:        The hearing to address unresolved aspects of the proposed discovery and
                               final hearing schedule, as set forth in the Agreed Scheduling Order, is
                               adjourned to a date to be determined.

         3.     Debtors’ Eighteenth (18th) Omnibus (Substantive) Objection to Claims Pursuant to
                Section 502 of the Bankruptcy Code, Bankruptcy Rule 3007 and Local Rule 3007-1 [D.I.
                3308; 11/21/17]

                Related Documents:

                          A.   Notice of Withdrawal of Claim No. 1900 of Ventura County Tax Collector
                               [D.I. 3323; 12/1/17]

                          B.   Notice of Submission of Claims [D.I. 3332; 12/7/17]

                          C.   Declaration of Robert Durgan in Support of Response of ZIAN Limited
                               Partnership to Debtors’ Eighteenth (18th) Omnibus (Substantive)
                               Objection to Claims Pursuant to Section 502 of the Bankruptcy Code,
                               Bankruptcy Rule 3007 and Local Rule 3007-1 [D.I. 3334; 12/7/17]

                          D.   Order Sustaining Debtors’ Eighteenth (18th) Omnibus (Substantive)
                               Objection to Claims Pursuant to Section 502 of the Bankruptcy Code,
                               Bankruptcy Rule 3007 and Local Rule 3007-1 [D.I. 3361; 12/18/17]

                          E.   Second (2nd) Order Sustaining Debtors’ Eighteenth (18th) Omnibus
                               (Substantive) Objection to Claims Pursuant to Section 502 of the
                               Bankruptcy Code, Bankruptcy Rule 3007 and Local Rule 3007-1 [D.I.
                               3388; 1/2/18]

                Response Deadline:           December 8, 2017 at 4:00 p.m. (ET)

                Responses Received:

                          F.   Response of ZIAN Limited Partnership to Debtors’ Eighteenth (18th)
                               Omnibus (Substantive) Objection to Claims Pursuant to Section 502 of the
                               Bankruptcy Code, Bankruptcy Rule 3007 and Local Rule 3007-1 [D.I.
                               3333; 12/7/17]

                Status:        Orders have been entered by the Court. No hearing is required.




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         4.     Motion of the Official Committee of Unsecured Creditors for Approval of Settlement
                Agreement Between the Committee, Spirit SPE HG 2015-1, LLC, and Spirit Master Fund
                IV, LLC [D.I. 3330; 12/5/17]

                Related Documents:

                          A.   Certificate of No Objection [D.I. 3347; 12/13/17]

                          B.   Seventh Order, Pursuant to Bankruptcy Rules 9006 and 9027, Extending
                               the Period Within Which the Debtors May Remove Actions Pursuant to 28
                               U.S.C. § 1452 [D.I. 3351; 12/13/17]

                Response Deadline:            December 22, 2017 at 4:00 p.m. (ET); Extended to a date to
                                              be determined for Debtors and Defendants Comvest Group
                                              Holdings, LLC, Comvest Investment Partners III, L.P.,
                                              Comvest Investment Partners IV, L.P., Comvest Haggen
                                              Holdings III, LLC, Comvest Haggen Holdings IV, LLC,
                                              Comvest Advisors, LLC, Haggen Property Holdings, LLC,
                                              Haggen Property South LLC, Haggen Property North,
                                              LLC, Haggen Property Holdings II, LLC, and Haggen
                                              SLB, LLC, and John Caple, Cecilio Rodriguez, Michael
                                              Niegsch, John Clougher, Blake Barnett, William Shaner,
                                              and Derrick Anderson (collectively, the “Defendants”)

                Responses Received:           None

                Status:        This matter is adjourned to a date to be determined.

         MATTER WITH CERTIFICATION

         5.     Ninth Quarterly Application for Compensation and Reimbursement of Expenses of
                Pachulski Stang Ziehl & Jones LLP, as Counsel for the Official Committee of Unsecured
                Creditors, for the Period from September 1, 2017 through November 30, 2017 [D.I. 3369;
                12/21/17]

                Related Documents:

                          A.   Certificate of No Objection [D.I. 3408; 1/16/18]

                          B.   Proposed Order

                Response Deadline:            January 10, 2018 at 4:00 p.m. (ET)

                Responses Received:           None




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                Status:        A certificate of no objection has been filed with the Court. No hearing is
                               required.

         MATTERS GOING FORWARD

         6.     Seventh Interim Application of Zolfo Cooper, LLC, Bankruptcy Consultant and Financial
                Advisors to the Official Committee of Unsecured Creditors for Allowance of Interim
                Compensation for Services Rendered and for Reimbursement of Expenses for the Period
                September 1, 2017 through November 30, 2017 [D.I. 3391; 1/2/18]

                Related Documents:           None

                Response Deadline:           January 22, 2018 at 4:00 p.m. (ET)

                Responses Received:          None

                Status:        This matter is going forward.

         7.     Pretrial Initial Scheduling Conference for Certain Adversary Cases Listed on Exhibit A

                Related Documents:           N/A

                Response Deadline:           N/A

                Responses Received:          N/A

                Status:        A pretrial initial scheduling conference for certain of the preference
                               adversary cases listed on Exhibit A is going forward. Exhibit A lists the
                               preference adversary cases that are open or have been settled, subject to
                               documentation. The Committee, as plaintiff in the preference adversary
                               cases, will present to the Court at the hearing the proposed form of
                               scheduling order attached as Exhibit B.


         Dated: January 19, 2018
                Wilmington, Delaware                YOUNG CONAWAY STARGATT & TAYLOR, LLP

                                                    /s/ Ian J. Bambrick
                                                    Matthew B. Lunn (No. 4119)
                                                    Robert F. Poppiti, Jr. (No. 5052)
                                                    Ian J. Bambrick (No. 5455)
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                                                    -and-



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                                     STROOCK & STROOCK & LAVAN LLP
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                                     AND DEBTORS-IN-POSSESSION




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